     Case 1:20-cv-01691-DAD-BAM Document 25 Filed 04/15/22 Page 1 of 2

 1   Tanya E. Moore, SBN 206683
     MOORE LAW FIRM, P.C.
 2   300 South First Street, Suite 342
     San Jose, California 95113
 3   Telephone: (408) 298-2000
     Facsimile: (408) 298-6046
 4   Emails: tanya@moorelawfirm.com;
     service@moorelawfirm.com
 5
     Attorney for Plaintiff,
 6   Hendrick Block
 7
 8                                UNITED STATES DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10
11   HENDRIK BLOCK,                                 )     No. 1:20-cv-01691-DAD-BAM
                                                    )
12                  Plaintiff,                      )     STIPULATION TO CONTINUE
                                                    )     MANDATORY SCHEDULING
13          vs.                                     )     CONFERENCE; [PROPOSED] ORDER
                                                    )
14   TULE RIVER TRIBAL COUNCIL, a                   )
     federally recognized Indian Tribe; TULE        )     Date:        May 4, 2022
15                                                  )     Time:        9:00 a.m.
     RIVER ECONOMIC DEVELOPMENT
                                                    )     Courtroom:   8 (6th Floor)
16   CORPORATION dba EAGLE FEATHER                  )
     TRADING POST #2;                               )
17                                                  )     Magistrate Judge Barbara A. McAuliffe
                    Defendants.                     )
18                                                  )
                                                    )
19                                                  )
                                                    )
20                                                  )
21
22          Plaintiff Hendrik Block and Defendants Tule River Tribal Council and Tule River
23   Economic Development Corporation (collectively “the Parties”), by and through their attorneys
24   of record, hereby request that the Mandatory Scheduling Conference currently scheduled in
25   this matter for May 4, 2022 at 9:00 a.m. be continued to a later date at the Court’s discretion.
26   Good cause exists for the continuance as Defendants have filed a motion to dismiss (Dkt. 15)
27   which has been fully briefed and remains under submission.
28   //


                  STIPULATION TO CONTINUE MANDATORY SCHEDULING CONFERENCE;
                                       [PROPOSED] ORDER

                                                 Page 1
     Case 1:20-cv-01691-DAD-BAM Document 25 Filed 04/15/22 Page 2 of 2

 1   IT IS SO STIPULATED.
 2   Dated: April 14, 2022                                MOORE LAW FIRM, P.C.
 3
 4                                                        /s/ Tanya E. Moore
                                                          Tanya E. Moore
 5                                                        Attorney for Plaintiff,
                                                          Hendrik Block
 6
 7   Dated: April 14, 2022                                PROCOPIO, CORY, HARGREAVES &
                                                          SAVITCH LLP
 8
                                                          /s/ Zagros S. Bassirian
 9
                                                          S. Todd Neal
10                                                        Zagros S. Bassirian
                                                          Attorneys for Defendants,
11                                                        Tule River Tribal Council and Tule River
                                                          Economic Development Corporation
12
13                                            ORDER
14          Having considered the Parties’ request, and good cause appearing,
15          IT IS HEREBY ORDERED that the Mandatory Scheduling Conference currently set
16   for May 4, 2022, is continued to September 7, 2022, at 9:30 AM before Magistrate Judge
17   Barbara A. McAuliffe in Courtroom 8 of the above-entitled Court. A Joint Scheduling
18   Report shall be filed one week prior to the Conference. The parties shall appear at the
19   Conference remotely either via Zoom video conference or Zoom telephone number. The
20   parties will be provided with the Zoom ID and password by the Courtroom Deputy prior to the
21   Conference. The Zoom ID and password are confidential and are not to be shared. Appropriate
22   court attire required.
23
24   IT IS SO ORDERED.
25
26
         Dated:     April 15, 2022                            /s/ Barbara    A. McAuliffe            _
                                                      UNITED STATES MAGISTRATE JUDGE
27
28


                  STIPULATION TO CONTINUE MANDATORY SCHEDULING CONFERENCE;
                                       [PROPOSED] ORDER

                                                 Page 2
